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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


 JOHN E. JACOBS,                          :
                                          :
                                          :
       Plaintiff,                         :
                                          :
       v.                                 :
                                          :
 COBB COUNTY, et al.,                     :          CIVIL ACTION NO.
                                          :          1:18-cv-01686-AT
                                          :
       Defendants.                        :

                                      ORDER

      Before the Court is Defendants’ Motion to Dismiss [Doc. 20]. For the reasons

that follow, Defendants’ Motion to Dismiss is GRANTED. Plaintiff’s Complaint

(Doc. 3) is DISMISSED with prejudice.

I.    Background

      For a thorough walkthrough of the facts as alleged in Plaintiff’s complaint,

please refer to this Court’s previous orders. (See Doc. 5 and Doc. 8.) In its October

15, 2018 Order, the Court allowed only Plaintiff’s constitutional claims premised

upon the confiscation of his notes and personal items, and his state law claims

premised upon assault and battery to move forward. (Doc. 5.) The Court allowed

Plaintiff to replead his allegations relating to these claims, but Plaintiff’s revised

Complaint was virtually identical to his original complaint. (Compare Proposed

Amended Complaint, Doc. 7; and Complaint, Doc. 3.) The Court then sua sponte
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denied leave to replead, rendering the original Complaint the operative complaint

for this matter. (See Order, Doc. 8.)

II.    Discussion

       Defendants have moved to dismiss this action as time barred under the

applicable statute of limitations or, alternatively, for failing to plausibly state a

claim for relief.1

       A. Statute of Limitations

       Defendants assert that Plaintiff’s section 1983 claims are untimely because

they were filed outside of Georgia’s two-year statute of limitations for personal

injury actions under O.C.G.A. § 9-3-33. According to Defendants, the statute of

limitations began to toll on August 9, 2015 – the date that Plaintiff filed his

grievance form2 – and expired on August 9, 2017. (Doc. 20-1 at 7–8.) Plaintiff

dated his Complaint April 19, 2018, and it was marked as received by the Court on

April 25, 2018. (See Doc. 3.)

       Plaintiff in response argues that the cause of action arose from “a series of

events . . . spanning the space of two years” and culminating in Plaintiff filing this


1 Defendants further claim that proper service was not effected on Defendants Warren or Sims,
and that “service has not been attempted on the remaining Cobb Defendants [Cobb County, Cobb
County Board of Commissioners, Major Michael Skelton, Deputy Miller, and Deputy Calfee-
Vittetoe].” (Doc. 20 at 1, n.1.) A review of the docket reveals that service was effected on
defendants Cobb County Board of Commissioners, Sergeant Simms, and Sheriff Neil Warren by
U.S. Marshal on June 20, 2019. (Doc. 21, 22, 23.) Service was not effected on defendants Calfee-
Vittetoe, Miller, or Skelton, for different reasons. (Doc. 24 (Calfee-Vittetoe no longer works at
agency), Doc. 25 (Marshal could not identify “Deputy Miller”), Doc. 26 (Skelton no longer works
at agency).) This issue is irrelevant however, as Plaintiff’s Complaint is dismissed with prejudice
against all defendants for untimeliness.
2 Plaintiff attached a copy of the August 9, 2015 grievance form to his complaint. (See Doc. 3 at

23.)


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suit. (Resp., Doc. 28 at 2.) Plaintiff also stated that “[d]ashcams were acquired

from Cobb County Police the week of September 8, 2016[,]” and that “damaged

property was acquired from Smyrna police department the week of June 27, 2017.”

(Doc. 28 at 2.) It is not clear what relevance “dashcams” have to any claim

presented in Plaintiff’s Complaint. Likewise, the Smyrna Police Department is not

a party in this case, and none of the factual allegations in the Complaint relate to

that department. To the extent that Plaintiff is alluding to a possible claim of

subsequent false arrest, that claim is not before the Court.

      The statute of limitations for claims brought pursuant to 42 U.S.C. § 1983 is

the statute of limitations applied by the forum state to personal injury actions.

Lovett v. Ray, 327 F.3d 1181, 1182 (11th Cir. 2003) (citing Uboh v. Reno, 141 F.3d

1000, 1002 (11th Cir. 1988)). In Georgia, the statute of limitations for personal

injury actions is two years from the time the “right of action accrues.” O.C.G.A. §

9-3-33. Accordingly, the statute of limitations for section 1983 actions in Georgia

in two years, and the limitations period begins when the rights of action accrues.

See Williams v. City of Atlanta, 794 F.2d 624, 626 n. 2 (11th Cir. 1986). This is also

the statute of limitations for claims of assault and battery per Georgia state law.

Smith v. Wilfong, 218 Ga. App. 503, 505, 462 S.E.2d 163, 164 (Ga. 1995) (“Under

OCGA § 9–3–33, an action for assault and battery ‘shall be brought within two

years after the right of action accrues[.]’”) (quoting O.C.G.A. § 9-3-33). The right

of action accrues when a person knows or has reason to know that he was injured,




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and was aware or should have been aware of who inflicted the injury. Rozar v.

Mullis, 85 F.3d 556, 561–62 (11th Cir. 1996).

      Plaintiff knew that he was injured no later than the date on which he filed

his grievance – August 9, 2015. The limitations period therefore ended two years

later on August 9, 2017, approximately eight months before Plaintiff filed his

Complaint.

      Accordingly, because Plaintiff’s remaining claims pursuant to section 1983

and Georgia state law are time-barred, Defendants’ Motion to Dismiss [Doc. 20] is

GRANTED. The Court sua sponte denies Plaintiff leave to replead these counts,

because the statute of limitations bar here is a legal issue that cannot be cured.

   III.   Conclusion

      For the foregoing reasons, the Court GRANTS Defendant’s Motion to

Dismiss [Doc. 20], and denies leave to replead. This matter is DISMISSED with

prejudice. The Clerk of the Court is directed to close this case.

      IT IS SO ORDERED this 5th day of December, 2019.


                                       ___________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE




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